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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                                      No. 14-168

LANCE SINGLETON                                                         SECTION I

                              ORDER & REASONS

      Before the Court is defendant Lance Singleton’s (“Singleton”) motion1 for

compassionate release. The government opposes the motion. 2 Because Singleton has

not demonstrated that he exhausted all administrative remedies, the Court denies

the motion.

                                         I.

      On September 21, 2015, Singleton pleaded guilty to four counts of a

superseding indictment charging him with violations of federal drug trafficking and

firearm laws. 3 This Court sentenced Singleton to a term of 228 months. 4

      Singleton appealed his sentence based on this Court’s application of a two-

point sentencing enhancement under the Sentencing Guidelines; the Fifth Circuit

dismissed the appeal because Singleton waived appellate rights in his plea

agreement. 5 Singleton also filed a motion to vacate his sentence pursuant 28 U.S.C.




1 R. Doc. No. 954.
2 R. Doc. No. 968.
3 R. Doc. No. 400.
4 R. Doc. No. 607, at 12.
5 R. Doc. No. 783.



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§ 2255, 6 which this Court denied. 7 Singleton then filed a motion to correct his

sentence pursuant to Federal Rule of Criminal Procedure 35(a), 8 which this Court

also denied. 9

       Singleton’s motion for compassionate release emphasizes his involvement with

educational      programming   and   his   lack   of   disciplinary   infractions   while

incarcerated. 10 The government’s opposition argues that Singleton failed to exhaust

administrative remedies and failed to present extraordinary and compelling reasons

justifying release. 11




6 R. Doc. No.798.
7 R. Doc. No. 836.
8 R. Doc. No. 906.
9 R. Doc. No. 909.
10 R. Doc. No. 954, at 1−3.
11 R. Doc. No. 968. The government also discusses the fact that, in June 2022, a

Louisiana state court vacated Singleton’s 2008 conviction pursuant to a statute that
has since been deemed unconstitutional by the Louisiana Supreme Court. Id. at 3−7.
That conviction was noted in Singleton’s presentence report and resulted in his being
assigned three criminal history points and a two-level enhancement for committing
the federal crimes while on parole. R. Doc. No. 509 (Presentence Report), ¶ 111. As
the government notes, that conviction was vacated after Singleton filed the instant
motion for compassionate release. R. Doc. No. 968, at 3. Singleton’s motion does not
discuss this development, and the Court does not address it.
       The government also argues that the Court should not construe Singleton’s
motion as a 28 U.S.C. § 2255 motion to vacate his sentence. Id. at 7. The Court agrees.
Singleton has previously filed a motion under section 2255 and would need to seek
leave from the Fifth Circuit to file another. R. Doc. No. 798; 28 U.S.C. § 2255(h). The
instant motion is titled “Motion for Compassionate Release/Reduction in Sentence
Pursuant to the First Step Act 18 U.S.C. 3582(c)(1)(A)(i).” It repeatedly cites 18 U.S.C.
§ 3582(c)(1)(A) and mentions the First Step Act. It does not discuss 28 U.S.C. § 2255
nor mention any issues typically raised in a section 2255 motion, such as ineffective
assistance of counsel.


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                                          II.

      In pertinent part, 18 U.S.C. § 3582(c)(1)(A) allows a court to consider a

defendant’s motion for modification of a term of imprisonment only “after the

defendant has fully exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant’s behalf or [a] lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility, whichever

is earlier[.]” 18 U.S.C. § 3582(c)(1)(A). Failure to satisfy this prerequisite is not

jurisdictional, but is rather a mandatory claim-processing rule that must be enforced

if invoked by the government. United States v. Franco, 973 F.3d 465, 468–69 (5th Cir.

2020). The defendant bears the burden of demonstrating that he has exhausted

administrative remedies. United States v. Metz, No. 92-469, 2020 WL 2838593, at *2

(E.D. La. June 1, 2020) (Africk, J.).

      In his motion, Singleton states that he “attached [his] administrative remedy

exhaustion.” 12 Attached to Singleton’s motion are several documents, 13 but none

establish that    Singleton exhausted administrative        remedies.   Further,   the

government states that it contacted counsel for the Bureau of Prisons, “who stated

that Singleton’s BOP facility could find no documentation that Singleton filed a



12 R. Doc. No. 954, at 2.
13 Included are a copy of the Tenth Circuit’s opinion in United States v. Maumau, 993
F.3d 821 (10th Cir. 2021) (affirming a district court’s decision to grant compassionate
release); a schedule for a reentry seminar presented by the U.S. Attorney’s Office;
Singleton’s educational transcript; a computation of his sentence with the percentage
of term served circled; his Individualized Needs Plan; his recidivism risk score; and
an untitled document that appears to be a separate motion for compassionate release
discussing the impact of COVID-19 on prison conditions. R. Doc. Nos. 954-1, 954-2,
954-3.


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request with the warden.” 14 Because Singleton has not made any showing that he has

“fully exhausted all administrative rights” or that 30 days have lapsed since the

receipt of a request for compassionate release by the warden of his facility, Singleton’s

motion must be denied.

                                          III.

         Because Singleton did not exhaust administrative remedies, the Court does not

address whether he has demonstrated extraordinary and compelling reasons

justifying compassionate release. Nor does it address the effect of the vacatur of

Singleton’s prior conviction. It also does not address whether the factors set forth in

18 U.S.C. § 3553(a) weigh in favor of compassionate release. Accordingly,

         IT IS ORDERED that Singleton’s motion 15 for compassionate release is

DENIED WITHOUT PREJUDICE.

         New Orleans, Louisiana, August 19, 2022.




                                         _______________________________________
                                                LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




14   R. Doc. No. 968, at 9.
15   R. Doc. No. 954.


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